        Case 3:23-cv-02880-JSC Document 139 Filed 06/20/23 Page 1 of 4



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28
     [PROPOSED] ORDER PERMITTING MICROSOFT CORPORATION AND
     ACTIVISION BLIZZARD, INC. TO BRING OUTSIDE EQUIPMENT INTO   CASE NO.: 23-CV-02880-JSC
     COURTHOUSE FOR HEARING
         Case 3:23-cv-02880-JSC Document 139 Filed 06/20/23 Page 2 of 4



 1
                              IN THE UNITED STATES DISTRICT COURT
 2
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3
                                     SAN FRANCISCO DIVISION
 4

 5   FEDERAL TRADE COMMISSION,                            Case No.: 23-cv-02880-JSC

 6                                 Plaintiff,             [PROPOSED] ORDER PERMITTING
                                                          MICROSOFT CORPORATION AND
 7                  v.                                    ACTIVISION BLIZZARD, INC. TO
                                                          BRING OUTSIDE EQUIPMENT INTO
 8   MICROSOFT CORPORATION, et al.,                       COURTHOUSE FOR HEARING

 9                                 Defendants.
                                                          Judge: The Honorable Jacqueline S. Corley
10                                                        Courtroom: 8 – 19th Floor
                                                          Hearing Dates: June 22, 2023 – June 29,
11                                                        2023

12         To streamline the presentation of evidence at the preliminary injunction hearing commencing
13 on Thursday, June 22, 2023 at 8:30 a.m., Defendants Microsoft Corporation (“Microsoft”) and

14 Activision Blizzard, Inc. (“Activision”) respectfully request that the following be present in the

15 courtroom and breakout room during the trial:

16             •   Easels
17             •   Printers
18             •   Projector and screen
19             •   Tech tables
20             •   Switches
21             •   Computer monitors
22             •   Speakers
23             •   MIFI
24             •   Cabling
25             •   Hard drives
26             •   Tablets and laptops
27

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                                                    2
     [PROPOSED] ORDER PERMITTING MICROSOFT CORPORATION AND
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          Case 3:23-cv-02880-JSC Document 139 Filed 06/20/23 Page 3 of 4



 1 Microsoft and Activision respectfully request permission to bring these items into the Courthouse

 2 beginning Wednesday, June 21, 2023. Additionally, Microsoft and Activision request that its

 3 litigation team be permitted to bring more than 10 boxes into the Courthouse and to have access to

 4 the Courthouse loading dock throughout the hearing in order to facilitate moving these materials into

 5 and out of the Courthouse, as necessary.

 6 Dated:    June 20, 2023
                                              By:    /s/ Caroline Van Ness
 7 Beth Wilkinson (pro hac vice)
                                                     Caroline Van Ness (Bar No. 281675)
   Rakesh Kilaru (pro hac vice)                      Jack DiCanio (Bar No. 138782)
 8 Kieran Gostin (pro hac vice)
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     Michael Moiseyev (pro hac vice)                 Matthew M. Martino (pro hac vice)
21   Megan A. Granger (pro hac vice)                 Michael J. Sheerin (pro hac vice)
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28
                                                      3
      [PROPOSED] ORDER PERMITTING MICROSOFT CORPORATION AND
      ACTIVISION BLIZZARD, INC. TO BRING OUTSIDE EQUIPMENT INTO              CASE NO.: 23-CV-02880-JSC
      COURTHOUSE FOR HEARING
        Case 3:23-cv-02880-JSC Document 139 Filed 06/20/23 Page 4 of 4



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 5                                          Counsel for Defendant Activision Blizzard, Inc.
 6                                                                 ISTRIC
                                                              TES D      TC
 7 IT IS SO ORDERED.                                        TA




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               June 20, 2023                                  S O  O
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 9 DATED:
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                                                  The Honorable Jacqueline
10                                                  United States District Court Judge
                                                                                                   Corley



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     [PROPOSED] ORDER PERMITTING MICROSOFT CORPORATION AND
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